                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    AT NASHVILLE

RYAN D. MCCLINTOCK,                                    )
                                                       ) CASE NO.: ________________
                                                       )
               Plaintiff,                              )
                                                       )
v.                                                     ) JURY TRIAL DEMANDED
                                                       )
MONSANTO COMPANY,                                      )
                                                       )
                Defendant.                             )

                                          COMPLAINT

        Plaintiff, RYAN D. MCCLINTOCK (“Plaintiff”), by and through his undersigned

attorneys, hereby bring this Complaint for damages against Defendant Monsanto Company and

allege the following:

                                    NATURE OF THE CASE

        1.     This is an action for damages suffered by Plaintiff as a direct and proximate result

of Defendant’s negligent and wrongful conduct in connection with the design, development,

manufacture, testing, packaging, promoting, marketing, advertising, distribution, labeling, and/or

sale of the herbicide Roundup®, containing the active ingredient glyphosate.

        2.     Plaintiff maintains that Roundup® and/or glyphosate is defective, dangerous to

human health, unfit and unsuitable to be marketed and sold in commerce and lacked proper

warnings and directions as to the dangers associated with its use.

        3.     Plaintiff’s injuries, like those striking thousands of similarly situated victims across

the country, were avoidable.

                                 JURISDICTION AND VENUE

        4.     This Court has jurisdiction over Defendant and this action pursuant to 28 U.S.C. §


                                                -1-
     Case 3:24-cv-01399        Document 1       Filed 11/26/24       Page 1 of 45 PageID #: 1
1332 because there is complete diversity of citizenship between Plaintiff and Defendant.

Defendant is incorporated and has its principal place of business outside of the state in which

Plaintiff resides.

        5.      The amount in controversy between Plaintiff and Defendant exceeds $75,000,

exclusive of interest and cost.

        6.      The Court also has supplemental jurisdiction pursuant to 28 U.S.C. § 1367.

        7.      Venue is proper within this district pursuant to 28 U.S.C. § 1391 in that Defendant

conducts business here and is subject to personal jurisdiction in this district. Furthermore,

Defendant sells, markets, and/or distributes Roundup® within the state of Tennessee. Also, a

substantial part of the acts and/or omissions giving rise to these claims occurred within this district.

                                              PARTIES

        8.      Plaintiff Ryan D. McClintock is a citizen of Tennessee and resides in Davidson

County, Tennessee. Ryan D. McClintock was exposed to Roundup® in Tennessee from

approximately 2000 to 2022. Plaintiff McClintock was diagnosed with Follicular Lymphoma and

Non-Hodgkin’s Lymphoma in Davidson County, Tennessee on or about January 24 th, 2024.

        9.      Plaintiff brings this action for personal injuries sustained by exposure to Roundup®

(“Roundup”) containing the active ingredient glyphosate and the surfactant POEA. As a direct and

proximate result of being exposed to Roundup, Plaintiff McClintock developed Non-Hodgkin’s

Lymphoma.

        10.     “Roundup” refers to all formulations of Defendant’s Roundup products, including,

but not limited to, Roundup Concentrate Poison Ivy and Tough Brush Killer 1, Roundup Custom

Herbicide, Roundup D-Pak herbicide, Roundup Dry Concentrate, Roundup Export Herbicide,

Roundup Fence & Hard Edger 1, Roundup Garden Foam Weed & Grass Killer, Roundup Grass




                                                 -2-
   Case 3:24-cv-01399          Document 1        Filed 11/26/24       Page 2 of 45 PageID #: 2
and Weed Killer, Roundup Herbicide, Roundup Original 2k Herbicide, Roundup Original II

Herbicide, Roundup Pro Concentrate, Roundup Prodry Herbicide, Roundup Promax, Roundup

Quik Stik Grass and Weed Killer, Roundup Quikpro Herbicide, Roundup Rainfast Concentrate

Weed & Grass Killer, Roundup Rainfast Super Concentrate Weed & Grass Killer, Roundup

Ready-to-Use Extended Control Weed & Grass Killer 1 Plus Weed Preventer, Roundup Ready-

to-Use Weed & Grass Killer, Roundup Ready-to-Use Weed and Grass Killer 2, Roundup Ultra

Dry, Roundup Ultra Herbicide, Roundup Ultramax, Roundup VM Herbicide, Roundup Weed &

Grass Killer Concentrate, Roundup Weed & Grass Killer Concentrate Plus, Roundup Weed &

Grass killer Ready-to-Use Plus, Roundup Weed & Grass Killer Super Concentrate, Roundup Weed

& Grass Killer1 Ready-to-Use, Roundup WSD Water Soluble Dry Herbicide Deploy Dry

Herbicide, or any other formulation of containing the active ingredient glyphosate.

       11.      Defendant MONSANTO COMPANY is a Delaware corporation with its

headquarters and principal place of business in St. Louis, Missouri.

       12.      Defendant advertises and sells goods, specifically Roundup, in Nashville,

Tennessee.

       13.      Defendant transacted and conducted business within the State of Tennessee that

relates to the allegations in this Complaint.

       14.      Defendant derived substantial revenue from goods and products used in the State

of Tennessee.

       15.      Defendant expected or should have expected its acts to have consequences within

the State of Tennessee derived substantial revenue from interstate commerce.

       16.      Defendant engaged in the business of designing, developing, manufacturing,

testing, packaging, marketing, distributing, labeling, and/or selling Roundup.




                                                -3-
   Case 3:24-cv-01399          Document 1       Filed 11/26/24    Page 3 of 45 PageID #: 3
        17.    Defendant is authorized to do business in Tennessee and derives substantial income

from doing business in this State.

        18.    Upon information and belief, Defendant purposefully availed itself to the privilege

of conducting activities with the State of Tennessee, thus invoking the benefits and protections of

its laws.

        19.    Upon information and belief, Defendant designs, sells, advertises, manufactures

and/or distributes Roundup, with full knowledge of its dangerous and defective nature.

                                 FACTUAL ALLEGATIONS

        20.    At all relevant times, Defendant was in the business of, and did, design, research,

manufacture, test, advertise, promote, market, sell, distribute, and/or have acquired and are

responsible for Defendant who have designed, researched, manufactured, tested, advertised,

promoted, marketed, sold, and distributed the commercial herbicide Roundup.

        21.    Monsanto is a multinational agricultural biotechnology corporation based in St.

Louis, Missouri. It is the world’s leading producer of glyphosate.

        22.    Defendant discovered the herbicidal properties of glyphosate during the 1970’s and

subsequently began to design, research, manufacture, sell and distribute glyphosate based

“Roundup” as a broad-spectrum herbicide.

        23.    Glyphosate is the active ingredient in Roundup.

        24.    Glyphosate is a broad-spectrum, non-selective herbicide used to kill weeds and

grasses known to compete with commercial crops grown around the globe.

        25.    Glyphosate is a “non-selective” herbicide, meaning it kills indiscriminately based

only on whether a given organism produces a specific enzyme, 5-enolpyruvylshikimic acid-3-

phosphate synthase, known as EPSP synthase.




                                               -4-
   Case 3:24-cv-01399         Document 1       Filed 11/26/24        Page 4 of 45 PageID #: 4
        26.      Glyphosate inhibits the enzyme 5-enolpyruvylshikimic acid-3-phosphate synthase

that interferes with the shikimic pathway in plants, resulting in the accumulation of shikimic acid

in plant tissue and ultimately plant death.

        27.      Sprayed as a liquid, plants absorb glyphosate directly through their leaves, stems,

and roots, and detectable quantities accumulate in the plant tissues.

        28.      Each year, approximately 250 million pounds of glyphosate are sprayed on crops,

commercial nurseries, suburban lawns, parks, and golf courses. This increase in use has been

driven largely by the proliferation of genetically engineered crops, crops specifically tailored to

resist the activity of glyphosate.

        29.      Defendant is intimately involved in the development, design, manufacture,

marketing, sale, and/or distribution of genetically modified (“GMO”) crops, many of which are

marketed as being resistant to Roundup i.e., “Roundup Ready®.” As of 2009, Defendant was the

world’s leading producer of seeds designed to be Roundup Ready®. The stated advantage of

Roundup Ready® crops is that substantially improve a farmer’s ability to control weeds, since

glyphosate can be sprayed int eh fields during the growing season without harming their crops. In

2010, an estimated 70% of corn and cotton, and 90% of soybean fields in the United States

contained Roundup Ready® seeds.

        30.      The original Roundup, containing the active ingredient glyphosate, was introduced

in 1974. Today, glyphosate products are among the world’s most widely used herbicides.

Monsanto’s glyphosate products are registered in more than 130 countries and are approved for

weed control in more than 100 crops. No other herbicide active ingredient compares in terms of

number of approved uses.1 They are ubiquitous in the environment. Numerous studies confirm



1 2 Backgrounder, History of Monsanto’s Glyphosate Herbicides, June 2005.




                                                     -5-
    Case 3:24-cv-01399           Document 1          Filed 11/26/24         Page 5 of 45 PageID #: 5
that glyphosate is found in rivers, streams, and groundwater in agricultural workers, and even in

the urine of urban dwellers who are not in direct contact with glyphosate.

        31.    For nearly 40 years, farmers across the globe have used Roundup, unaware of its

carcinogenic properties.

               REGISTRATION OF HERBICIDES UNDER FEDERAL LAW

        32.    The manufacture, formulation and distribution of herbicides, such as Roundup, are

regulated under the Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), 7. U.S.C. §

136 et seq. FIFRA requires that all pesticides be registered with the Environmental Protection

Agency (“EPA”) prior to their distribution, sale, or use, except as described by FIFRA 7 U.S.C.

136a(a).

        33.    The EPA requires as part of the registration process, among other requirements, a

variety of tests to evaluate the potential for exposure to pesticides, toxicity to people and other

potential non-target organisms, and other adverse effects on the environment. Registration by the

EPA, however, is not an assurance or finding of safety. The determination the EPA makes in

registering or re-registering a product is not that the product is “safe,” but rather that use of the

product in accordance with its label directions “will not generally cause unreasonable adverse

effects on the environment.” 7 U.S.C. § 136(a)(c)(5)(D).

        34.    FIFRA defines “unreasonable adverse effects on the environment” to mean “any

unreasonable risk to man or the environment, taking into account the economic, social, and

environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb). FIFRA thus

requires the EPA to make a risk/benefit analysis in determining whether a registration should be

granted or allowed to continue to be sold in commerce.

        35.    The EPA and the State of Tennessee registered Roundup for distribution, sale, and




                                                -6-
    Case 3:24-cv-01399        Document 1        Filed 11/26/24      Page 6 of 45 PageID #: 6
manufacture in the United States and the State of Tennessee.

       36.     FIFRA generally requires that the registrant, Monsanto, conduct health and safety

testing of pesticide products. The government is not required, nor is it able, to perform the product

tests that are required of the manufacturer.

       37.     The evaluation of each pesticide product distributed, sold, or manufactured is

completed at the time the product is initially registered. The data necessary for registration of a

pesticide has changed over time. The EPA is now in the process of re-evaluating all pesticide

products through a Congressionally mandated process called “re-registration.” 7 U.S.C. § 136a-1.

In order to reevaluate these pesticides, the EPA demands the completion of additional tests and the

submission of data for the EPA’s review and evaluation.

       38.     In the case of glyphosate and Roundup, the EPA had planned on releasing its

preliminary risk assessment – in relation to the registration process – no later than July 2015. The

EPA completed its review of glyphosate in early 2015 but delayed releasing the assessment

pending further review in light of the World Health Organization’s findings.

                 SCIENTIFIC FRAUD UNDERLYING THE MARKETING
                             AND SALE OF ROUNDUP®

       39.     On two occasions, the EPA found that the laboratories hired by Monsanto to test

the toxicity of its Roundup products for registration purposes committed fraud.

       40.     In the first instance, Monsanto, in seeking initial registration of Roundup by EPA,

hired Industrial Bio-Test Laboratories (“IBT”) to perform and evaluate pesticide toxicology

studies relating to Roundup. IBT performed about 30 tests on glyphosate and glyphosate-

containing products, including nine of the 15 residue studies needed to register Roundup.

       41.     In 1976, the United States Food and Drug Administration (“FDA”) performed an

inspection of Industrial Bio-Test Industries (“IBT”) that revealed discrepancies between the raw



                                                -7-
   Case 3:24-cv-01399         Document 1        Filed 11/26/24      Page 7 of 45 PageID #: 7
data and the final report relating to the toxicological impacts of glyphosate. The EPA subsequently

audited IBT; it too found the toxicology studies conducted for the Roundup herbicide to be invalid.

An EPA reviewer stated, after finding “routine falsification of data” at IBT, that it was “hard to

believe the scientific integrity of the studies when they said they took specimens of the uterus from

male rabbits.”

       42. Three top executives of IBT were convicted of fraud in 1983.

       43.       In the second incident of data falsification, Monsanto hired Craven Laboratories in

1991 to perform pesticide and herbicide studies, including for Roundup. In that same year, the

owner of Craven Laboratories and three of its employees were indicted, and later convicted, of

fraudulent laboratory practices in the testing of pesticides and herbicides.

       44.       Despite the falsity of the tests that underlie its registration, within a few years of its

launch, Monsanto was marketing Roundup in 115 countries.

                     IMPORTANCE OF ROUNDUP® TO MONSANTO’S
                           MARKET DOMINANCE PROFITS

       45.       The success of Roundup was key to Monsanto’s continued reputation and

dominance in the marketplace. Largely due to the success of Roundup sales, Monsanto’s

agriculture division was outperforming its chemicals division’s operating income, and that gap

increased yearly. But with its patent for glyphosate expiring in the United States in the year 2000,

Monsanto needed a strategy to maintain its Roundup market dominance and to ward off impending

competition.

       46.       In response, Monsanto began the development and sale of genetically engineered

Roundup Ready® seeds in 1996. Since Roundup Ready® crops are resistant to glyphosate; farmers

can spray Roundup onto their fields during the growing season without harming the crop. This

allowed Monsanto to expand its market for Roundup even further; by 2000, Monsanto’s



                                                   -8-
   Case 3:24-cv-01399           Document 1         Filed 11/26/24       Page 8 of 45 PageID #: 8
biotechnology seeds were planted on more than 80 million acres worldwide and nearly 70% of

American soybeans were planted from Roundup Ready® seeds. It also secured Monsanto’s

dominant share of the glyphosate/Roundup market through a marketing strategy that coupled

proprietary Roundup Ready® seeds with continued sales of its Roundup herbicide.

       47.     Through a three-pronged strategy of increased production, decreased prices, and by

coupling with Roundup Ready® seeds, Roundup became Monsanto’s most profitable product. In

2000, Roundup accounted for almost $2.8 billion in sales, outselling other herbicides by a margin

of five to one, and accounting for close to half of Monsanto’s revenue. Today, glyphosate remains

one of the world’s largest herbicides by sales volume.

    MONSANTO’S FALSE REPRESENTATIONS REGARDING THE SAFETY OF
                           ROUNDUP®

       48.     In 1996, the New York Attorney General (“NYAG”) filed a lawsuit against

Monsanto based on its false and misleading advertising of Roundup products. Specifically, the

lawsuit challenged Monsanto’s general representations that its spray-on glyphosate-based

herbicides, including Roundup, were “safer than table salt” and “practically non-toxic” to

mammals, birds, and fish. Among the representations the NYAG found deceptive and misleading

about the human and environmental safety of Roundup are the following:

               a.) Remember that environmentally friendly Roundup herbicide is

                  biodegradable. It won't build up in the soil so you can use

                  Roundup with confidence along customers’ driveways, sidewalks

                  and fences ...

               b.) And remember that Roundup is biodegradable and won't build up

                  in the soil. That will give you the environmental confidence you

                  need to use Roundup everywhere you've got a weed, brush,



                                              -9-
   Case 3:24-cv-01399        Document 1       Filed 11/26/24     Page 9 of 45 PageID #: 9
              edging or trimming problem.

          c.) Roundup biodegrades into naturally occurring elements.

          d.) Remember that versatile Roundup herbicide stays where you put

              it. That means there’s no washing or leaching to harm customers'

              shrubs or other desirable vegetation.

          e.) This non-residual herbicide will not wash or leach in the soil. It ...

              stays where you apply it.

          f.) You can apply Accord with “confidence because it will stay where

              you put it” it bonds tightly to soil particles, preventing leaching.

              Then, soon after application, soil microorganisms biodegrade

              Accord into natural products.

          g.) Glyphosate is less toxic to rats than table salt following acute oral

              ingestion.

          h.) Glyphosate's safety margin is much greater than required. It has

              over a 1,000-fold safety margin in food and over a 700-fold safety

              margin for workers who manufacture it or use it.

          i.) You can feel good about using herbicides by Monsanto. They

              carry a toxicity category rating of ‘practically non-toxic’ as it

              pertains to mammals, birds and fish.

          j.) “Roundup can be used where kids and pets will play and breaks

              down into natural material.” This ad depicts a person with his head

              in the ground and a pet dog standing in an area which has been




                                           -10-
Case 3:24-cv-01399      Document 1        Filed 11/26/24       Page 10 of 45 PageID #: 10
                     treated with Roundup.2

        49.      On November 19, 1996, Monsanto entered into an Assurance of Discontinuance

with NYAG, in which Monsanto agreed, among other things, “to cease and desist from publishing

or broadcasting any advertisements [in New York] that represent, directly or by implication” that:

                 a.) its glyphosate-containing pesticide products or any component

                     thereof are safe, non-toxic, harmless or free from risk.

                                             ***

                 b.) its glyphosate-containing pesticide products or any component

                     thereof manufactured, formulated, distributed or sold by

                     Monsanto are biodegradable.

                                             ***

                 c.) its glyphosate-containing pesticide products or any component

                     thereof stay where they are applied under all circumstances and

                     will not move through the environment by any means.

                                             ***

                 d.) its glyphosate-containing pesticide products or any component

                     thereof are "good" for the environment or are “known for their

                     environmental characteristics.”

                                             ***

                 e.) glyphosate-containing pesticide products or any component

                     thereof are safer or less toxic than common consumer products

                     other than herbicides.


2 Attorney General of the State of New York, In the Matter of Monsanto Company, Assurance of Discontinuance

Pursuant to Executive Law § 63(15) (Nov. 1996).


                                                    -11-
  Case 3:24-cv-01399            Document 1         Filed 11/26/24        Page 11 of 45 PageID #: 11
                                              ***

                 f.) its glyphosate-containing products or any component thereof

                     might be classified as “practically non-toxic.”

        50.      Monsanto did not alter its advertising in the same manner in any state other than

New York, and on information and belief still has not done so today.

        51.      In 2009, France’s highest court ruled that Monsanto had not told the truth about the

safety of Roundup. The French court affirmed an earlier judgment that Monsanto had falsely

advertised its herbicide Roundup as “biodegradable” and that it “left the soil clean.”3

                     EVIDENCE OF CARCINOGENICITY IN ROUNDUP®

        52.      As early as the 1980’s, Monsanto was aware of glyphosate’s carcinogenic

properties.

        53.      On March 4, 1985, a group of the Environmental Protection Agency’s (“EPA”)

Toxicology Branch published a memorandum classifying glyphosate as a Category C oncogene.4

Category C oncogenes are possible human carcinogens with limited evidence of carcinogenicity.

        54.      In 1986, the EPA issued a Registration Standard for glyphosate (NTIS PB87-

103214). The Registration standard required additional phytotoxicity, environmental fate,

toxicology, product chemistry, and residue chemistry studies. All of the data required was

submitted and reviewed and/or waived.5

        55.      In October 1991, the EPA published a Memorandum entitled “Second Peer Review

of Glyphosate.” The memorandum changed glyphosate’s classification to Group E (evidence of




3 Monsanto Guilty in ‘False Ad’ Row, BBC, Oct. 15, 2009, available at

http://news.bbc.co.uk/2/hi/europe/8308903.stm.
4 Consensus Review of Glyphosate, Casewell No. 661A. March 4, 1985. United States Environmental Protection

Agency.
5 http://www.epa.gov/oppsrrd1/reregistration/REDs/factsheets/0178fact.pdf.




                                                     -12-
  Case 3:24-cv-01399            Document 1          Filed 11/26/24      Page 12 of 45 PageID #: 12
non-carcinogenicity for humans). Two peer review committee members did not concur with the

conclusions of the committee and one member refused to sign.6

        56.      In addition to the toxicity of the active molecule, many studies support the

hypothesis that glyphosate formulations found in Defendant’s Roundup products are more

dangerous and toxic than glyphosate alone.7 As early as 1991, evidence existed demonstrating

that glyphosate formulations were significantly more toxic than glyphosate alone.8

        57.      In 2002, Julie Marc published a study entitled “Pesticide Roundup Provokes Cell

Division Dysfunction at the Level of CDK1/Cyclin B Activation.”

        58.      The study found that Defendant’s Roundup caused delays in the cell cycles of sea

urchins, while the same concentrations of glyphosate alone proved ineffective and did not alter

cell cycles.

        59.      In 2004, Julie Marc published a study entitled “Glyphosate-based pesticides affect

cell cycle regulation.” The study demonstrated a molecular link between glyphosate-based

products and cell cycle dysregulation.

        60.      The study noted that “cell-cycle dysregulation is a hallmark of tumor cells and

human cancer. Failure in the cell-cycle checkpoints leads to genomic instability and subsequent

development of cancers from the initial affected cell.” Further, “[s]ince cell cycle disorders such

as cancer result from dysfunction of unique cell, it was of interest to evaluate the threshold dose

of glyphosate affecting cells.”9

        61.      In 2005, Francisco Peixoto published a study showing that Roundup’s effects on




6 Second Peer Review of Glyphosate, CAS No. 1071-83-6. October 30, 1881. United States Environmental

Protection Agency.
7 Martinez et al. 2007; Benachour 2009; Gasnier et al. 2010; Peixoto 2005; March 2004.
8 Martinez et al 1991.
9 (Molinari, 2000; Stewart et al., 2003).




                                                     -13-
  Case 3:24-cv-01399             Document 1         Filed 11/26/24         Page 13 of 45 PageID #: 13
rat liver mitochondria are much more toxic and harmful than the same concentrations of glyphosate

alone.

         62.   The Peixoto study suggested that the harmful effects of Roundup on mitochondrial

bioenergetics could not be exclusively attributed to glyphosate and could be the result of other

chemicals, namely the surfactant POEA, or alternatively due to the possible synergy between

glyphosate and Roundup formulation products.

         63.   In 2009, Nora Benachour and Gilles-Eric Seralini published a study examining the

effects of Roundup and glyphosate on human umbilical, embryonic, and placental cells.

         64.   The study used dilution levels of Roundup and glyphosate far below agricultural

recommendations, corresponding with low levels of residues in food. The study concluded that

supposed “inert” ingredients, and possibly POEA, change human cell permeability and amplify

toxicity of glyphosate alone. The study further suggested that determinations of glyphosate toxicity

should take into account the presence of adjuvants, or those chemicals used in the formulation of

the complete pesticide. The study confirmed that the adjuvants in Roundup are not inert, and that

Roundup is always more toxic than its active ingredient glyphosate.

         65.   The results of these studies were confirmed in recently published peer-reviewed

studies and were at all times available and/or known to Defendant.

         66.   Defendant knew or should have known that Roundup is more toxic than glyphosate

alone and that safety studies on Roundup, Roundup’s adjuvants and “inert” ingredients, and/or the

surfactant POEA were necessary to protect Plaintiff from Roundup.

         67.   Defendant knew or should have known that tests limited to Roundup’s active

ingredient glyphosate were insufficient to prove the safety of Roundup.

         68.   Defendant failed to appropriately and adequately test Roundup, Roundup’s




                                               -14-
  Case 3:24-cv-01399        Document 1        Filed 11/26/24      Page 14 of 45 PageID #: 14
adjuvants and “inert” ingredients, and/or the surfactant POEA to protect Plaintiff from Roundup.

       69.     Rather than performing appropriate tests, Defendant relied upon flawed industry-

supported studies designed to protect Defendant’s economic interests rather than Plaintiff and the

consuming public.

       70.     Despite its knowledge that Roundup was considerably more dangerous than

glyphosate alone, Defendant continued to promote Roundup as safe.

                        IARC CLASSIFICATION OF GLYPHOSATE

       71.     The International Agency for Research on Cancer (“IARC”) is the specialized

intergovernmental cancer agency the World Health Organization (“WHO”) of the United Nations

tasked with conducting and coordinating research into the causes of cancer. The IARC process for

the classification of glyphosate followed the stringent procedures for the evaluation of a chemical

agent. Over time, the IARC Monograph program has reviewed 980 agents. Of those reviewed, it

has determined 116 agents to be Group 1 (Known Human Carcinogens); 73 agents to be Group

2A (Probable Human Carcinogens); 287 agents to be Group 2B (Possible Human Carcinogens);

503 agents to be Group 3 (Not Classified); and one agent to be Probably Not Carcinogenic.

       72.     The established procedure for IARC Monograph evaluations is described in the

IARC Programme’s Preamble. Evaluations are performed by panels of international experts,

selected on the basis of their expertise and the absence of actual or apparent conflicts of interest.

       73.     One year before the Monograph meeting, the meeting is announced and there is a

call both for data and for experts. Eight months before the Monograph meeting, the Working Group

membership is selected, and the sections of the Monograph are developed by the Working Group

members. One month prior to the Monograph meeting, the call for data is closed and the various

draft sections are distributed among Working Group members for review and comment. Finally,




                                                -15-
  Case 3:24-cv-01399         Document 1        Filed 11/26/24      Page 15 of 45 PageID #: 15
at the Monograph meeting, the Working Group finalizes review of all literature, evaluates the

evidence in each category, and completes the overall evaluation. Within two weeks after the

Monograph meeting, the summary of the Working Group findings is published in Lancet

Oncology, and within a year after the meeting, the final Monograph is finalized and published.

       74.     In assessing an agent, the IARC Working Group reviews the following information:

               a)      human, experimental, and mechanistic data;

               b)      all pertinent epidemiological studies and cancer bioassays; and

               c)      representative mechanistic data. The studies must be publicly available and

               have sufficient detail for meaningful review, and reviewers cannot be associated

               with the underlying study.

       75.     In March 2015, IARC reassessed glyphosate. The summary published in The

Lancet Oncology reported that glyphosate is a Group 2A agent and probably carcinogenic in

humans.

       76.     On July 29, 2015, IARC issued its Monograph for glyphosate, Monograph 112. For

Volume 112, the volume that assessed glyphosate, a Working Group of 17 experts from 11

countries met at IARC from March 3–10, 2015, to assess the carcinogenicity of certain herbicides,

including glyphosate. The March meeting culminated nearly a one-year review and preparation by

the IARC Secretariat and the Working Group, including a comprehensive review of the latest

available scientific evidence. According to published procedures, the Working Group considered

“reports that have been published or accepted for publication in the openly available scientific

literature” as well as “data from governmental reports that are publicly available.”

       77.     The studies considered the following exposure groups: occupational exposure of

farmers and tree nursery workers in the United States, forestry workers in Canada and Finland,




                                               -16-
  Case 3:24-cv-01399        Document 1        Filed 11/26/24     Page 16 of 45 PageID #: 16
and municipal weed-control workers in the United Kingdom; and para-occupational exposure in

farming families.

       78.       Glyphosate was identified as the second-most used household herbicide in the

United States for weed control between 2001 and 2007 and the most heavily used herbicide in the

world in 2012.

       79.       Exposure pathways are identified as air (especially during spraying), water, and

food. Community exposure to glyphosate is widespread and found in soil, air, surface water, and

groundwater, as well as in food.

       80.       The assessment of the IARC Working Group identified several case control studies

of occupational exposure in the United States, Canada, and Sweden. These studies show a human

health concern from agricultural and other work-related exposure to glyphosate.

       81.       The IARC Working Group found an increased risk between exposure to glyphosate

and Non-Hodgkin lymphoma (“NHL”) and several subtypes of NHL, and the increased risk

persisted after adjustment for other pesticides.

       82.       The IARC Working Group also found that glyphosate caused DNA and

chromosomal damage in human cells. One study in community residents reported increases in

blood markers of chromosomal damage (micronuclei) after glyphosate formulations were sprayed.

       83.       In male CD-1 mice, glyphosate induced a positive trend in the incidence of a rare

tumor, renal tubule carcinoma. A second study reported a positive trend for hemangiosarcoma in

male mice. Glyphosate increased pancreatic islet-cell adenoma in male rats in two studies. A

glyphosate formulation promoted skin tumors in an initiation-promotion study in mice.

       84.       The IARC Working Group also noted that glyphosate has been detected in the urine

of agricultural workers, indicating absorption. Soil microbes degrade glyphosate to




                                               -17-
  Case 3:24-cv-01399         Document 1       Filed 11/26/24     Page 17 of 45 PageID #: 17
aminomethylphosphonic acid (AMPA). Blood AMPA detection after exposure suggests intestinal

microbial metabolism in humans.

        85.    The IARC Working Group further found that glyphosate and glyphosate

formulations induced DNA and chromosomal damage in mammals, and in human and animal cells

in utero.

        86.    The IARC Working Group also noted genotoxic, hormonal, and enzymatic effects

in mammals exposed to glyphosate. Essentially, glyphosate inhibits the biosynthesis of aromatic

amino acids, which leads to several metabolic disturbances, including the inhibition of protein and

secondary product biosynthesis and general metabolic disruption.

        87.    The IARC Working Group also reviewed an Agricultural Health Study, consisting

of a prospective cohort of 57,311 licensed pesticide applicators in Iowa and North Carolina. While

this study differed from others in that it was based on a self-administered questionnaire, the results

support an association between glyphosate exposure and Multiple Myeloma, Hairy Cell Leukemia

(HCL), and Chronic Lymphocytic Leukemia (CLL), in addition to several other cancers.

                   EARLIER EVIDENCE OF GLYPHOSATE’S DANGER

        88.    Despite the new classification by the IARC, Defendant has had ample evidence of

glyphosate and Roundup’s genotoxic properties for decades.

        89.    Genotoxicity refers to chemical agents that are capable of damaging the DNA

within a cell through genetic mutations, which is a process that is believed to lead to cancer.

        90.    In 1997, Chris Clements published “Genotoxicity of select herbicides in Rana

catesbeiana tadpoles using the alkaline single-cell gel DNA electrophoresis (comet) assay.”

        91.    The study found that tadpoles exposed to Roundup showed significant DNA

damage when compared with unexposed control animals.




                                                -18-
  Case 3:24-cv-01399         Document 1        Filed 11/26/24      Page 18 of 45 PageID #: 18
       92.     Both human and animal studies have shown that glyphosate and glyphosate-based

formulations such as Roundup can induce oxidative stress.

       93.     Oxidative stress and associated chronic inflammation are believed to be involved

in carcinogenesis.

       94.     The IARC Monograph notes that “[s]trong evidence exists that glyphosate, AMPA

and glyphosate-based formulations can induce oxidative stress.”

       95.     In 2006 César Paz-y-Miño published a study examining DNA damage in human

subjects exposed to glyphosate.

       96.     The study produced evidence of chromosomal damage in blood cells showing

significantly greater damage after exposure to glyphosate than before in the same individuals,

suggesting that the glyphosate formulation used during aerial spraying had a genotoxic effect on

exposed individuals.

       97.     The IARC Monograph reflects the volume of evidence of glyphosate pesticides’

genotoxicity noting “[t]he evidence for genotoxicity caused by glyphosate-based formulations is

strong.”

       98.     Despite knowledge to the contrary, Defendant maintains that there is no evidence

that Roundup is genotoxic, that regulatory authorities and independent experts are in agreement

that Roundup is not genotoxic, and that there is no evidence that Roundup is genotoxic.

       99.     In addition to glyphosate and Roundup’s genotoxic properties, Defendant has long

been aware of glyphosate’s carcinogenic properties.

       100.    Glyphosate and Roundup in particular have long been associated with

carcinogenicity and the development of numerous forms of cancer, including, but not limited to,

Non-Hodgkin’s Lymphoma, Hodgkin’s lymphoma, multiple myeloma, and soft tissue sarcoma.




                                             -19-
  Case 3:24-cv-01399        Document 1      Filed 11/26/24        Page 19 of 45 PageID #: 19
       101.    Defendant has known of this association since the early to mid-1980s and numerous

human and animal studies have evidenced the carcinogenicity of glyphosate and/or Roundup.

       102.    In 1985, the EPA studied the effects of glyphosate in mice finding a dose-related

response in male mice linked to renal tubal adenomas, a rare tumor. The study concluded the

glyphosate was oncogenic.

       103.    In 2003, Lennart Hardell and Mikael Eriksson published the results of a two case-

controlled studies on pesticides as a risk factor for NHL and hairy cell leukemia.

       104.    The study concluded that glyphosate had the most significant relationship to NHL

among all herbicides studies with an increased odds ratio of 3.11.

       105.    In 2003, AJ De Roos published a study examining the pooled data of mid-western

farmers, examining pesticides and herbicides as risk factors for NHL.

       106.    The study, which controlled for potential confounders, found a relationship

between increased NHL incidence and glyphosate.

       107.    In 2008, Mikael Eriksson published a study a population-based case-control study

of exposure to various pesticides as a risk factor for NHL.

       108.    This strengthened previous associations between glyphosate and NHL.

       109.    In spite of this knowledge, Defendant continued to issue broad and sweeping

statements suggesting that Roundup was, and is, safer than ordinary household items such as table

salt, despite a lack of scientific support for the accuracy and validity of these statements and, in

fact, voluminous evidence to the contrary.

       110.    Upon information and belief, these statements and representations have been made

with the intent of inducing Plaintiff, the agricultural community, and the public at large to

purchase, and increase the use of, Defendant’s Roundup for Defendant’s pecuniary gain, and in




                                               -20-
  Case 3:24-cv-01399        Document 1        Filed 11/26/24      Page 20 of 45 PageID #: 20
fact did induce Plaintiff McClintock to use Roundup.

       111.    Defendant made these statements with complete disregard and reckless indifference

to the safety of Plaintiff and the general public.

       112.    Notwithstanding Defendant’s representations, scientific evidence has established a

clear association between glyphosate and genotoxicity, inflammation, and an increased risk of

many cancers, including, but not limited to, NHL, Multiple Myeloma, and soft tissue sarcoma.

       113.    Defendant knew or should have known that glyphosate is associated with an

increased risk of developing cancer, including, but not limited to, NHL, Multiple Myeloma, and

soft tissue sarcomas.

       114.    Defendant failed to appropriately and adequately inform and warn Plaintiff of the

serious and dangerous risks associated with the use of and exposure to glyphosate and/or Roundup,

including, but not limited to, the risk of developing NHL, as well as other severe and personal

injuries, which are permanent and/or long-lasting in nature, cause significant physical pain and

mental anguish, diminished enjoyment of life, and the need for medical treatment, monitoring

and/or medications.

       115.    Despite the IARC’s classification of glyphosate as a class 2A probable carcinogen,

Defendant continue to maintain that glyphosate and/or Roundup is safe, non-carcinogenic, non-

genotoxic, and falsely warrant to users and the general public that independent experts and

regulatory agencies agree that there is no evidence of carcinogenicity or genotoxicity in glyphosate

and Roundup.

       116.    Defendant has claimed and continue to claim that Roundup is safe, non-

carcinogenic, and non-genotoxic.

       117.    Monsanto claims on its website that “[r]egulatory authorities and independent




                                                -21-
  Case 3:24-cv-01399         Document 1        Filed 11/26/24     Page 21 of 45 PageID #: 21
experts around the world have reviewed numerous long-term/carcinogenicity and genotoxicity

studies and agree that there is no evidence that glyphosate, the active ingredient in Roundup brand

herbicides and other glyphosate-based herbicides, causes cancer, even at very high doses, and that

it is not genotoxic”.10

         118.   Ironically, the primary source for this statement is a 1986 report by the WHO, the

same organization that now considers glyphosate to be a probable carcinogen.

         119.   Glyphosate, and Defendant’s Roundup products in particular, have long been

associated with serious side effects and many regulatory agencies around the globe have banned

or are currently banning the use of glyphosate herbicide products.

         120.   Defendant’s statements proclaiming the safety of Roundup and disregarding its

dangers misled Plaintiff.

         121.   Despite Defendant’s knowledge that Roundup was associated with an elevated risk

of developing cancer, Defendant’s promotional campaigns focused on Roundup’s purported

“safety profile.”

         122.   Defendant’s failure to adequately warn Plaintiff resulted in (1) Plaintiff McClintock

using and being exposed to glyphosate instead of using another acceptable and safe method of

controlling unwanted weeds and pests; and (2) scientists and physicians failing to warn and instruct

consumers about the risk of cancer, including NHL, and other injuries associated with Roundup.

         123.   Defendant failed to seek modification of the labeling of Roundup to include

relevant information regarding the risks and dangers associated with Roundup exposure.

         124.   The failure of Defendant to appropriately warn and inform the EPA has resulted in

inadequate warnings in safety information presented directly to users and consumers.


10 Backgrounder - Glyphosate: No Evidence of Carcinogenicity. Updated November 2014. (downloaded October 9,

2015).


                                                   -22-
  Case 3:24-cv-01399           Document 1         Filed 11/26/24       Page 22 of 45 PageID #: 22
       125.    The failure of Defendant to appropriately warn and inform the EPA has resulted in

the absence of warning or caution statements that are adequate to protect health and the

environment.

       126.    The failure of Defendant to appropriately warn and inform the EPA has resulted in

the directions for use that are not adequate to protect health and the environment.

       127.    By reason of the foregoing acts and omissions, Plaintiff seek compensatory

damages as a result of Plaintiff McClintock’s use of, and exposure to, Roundup which caused or

was a substantial contributing factor in causing Plaintiff McClintock to suffer from cancer,

specifically NHL, and Mr. McClintock suffered severe and personal injuries, which are permanent

and lasting in nature, physical pain and mental anguish, including diminished enjoyment of life.

       128.    By reason of the foregoing, Plaintiff are severely and permanently injured.

       129.    By reason of the foregoing acts and omissions, Plaintiff have endured and, in some

categories continue to suffer, emotional and mental anguish, medical expenses, and other

economic and non-economic damages, as a result of the actions and inactions of Defendant.

              RECENT WORLDWIDE BANS ON ROUNDUP®/GLYPHOSATE

       130.    Several countries around the world have instituted bans on the sale of Roundup and

other glyphosate-containing herbicides, both before and since IARC first announced its assessment

for glyphosate in March 2015, and more countries undoubtedly will follow suit as the dangers of

the use of Roundup are more widely known. The Netherlands issued a ban on all glyphosate-based

herbicides in April 2014, including Roundup, which took effect by the end of 2015. In issuing the

ban, the Dutch Parliament member who introduced the successful legislation stated: “Agricultural

pesticides in user-friendly packaging are sold in abundance to private persons. In garden centers,

Roundup is promoted as harmless, but unsuspecting customers have no idea what the risks of this




                                               -23-
  Case 3:24-cv-01399        Document 1        Filed 11/26/24      Page 23 of 45 PageID #: 23
product are. Especially children are sensitive to toxic substances and should therefore not be

exposed to it.”

       131.       The Brazilian Public Prosecutor in the Federal District requested that the Brazilian

Justice Department suspend the use of glyphosate.

       132.       France banned the private sale of Roundup and glyphosate following the IARC

assessment for Glyphosate.

       133.       Bermuda banned both the private and commercial sale of glyphosates, including

Roundup. The Bermuda government explained its ban as follows: “Following a recent scientific

study carried out by a leading cancer agency, the importation of weed spray ‘Roundup’ has been

suspended.”

       134.       The Sri Lankan government banned the private and commercial use of glyphosates,

particularly out of concern that glyphosate has been linked to fatal kidney disease in agricultural

workers.

       135.       The government of Columbia announced its ban on using Roundup and glyphosate

to destroy illegal plantations of coca, the raw ingredient for cocaine, because of the WHO’s finding

that glyphosate is probably carcinogenic.

                  PLAINTIFF MCCLINTOCK’S EXPOSURE TO ROUNDUP®

       136.       Plaintiff Ryan D. McClintock is 40 years old.

       137.       Plaintiff McClintock was directly exposed to Roundup when he used Roundup for

agricultural work between the years of 2000-2022.

       138.       Mr. McClintock used the Roundup Concentrate, which he personally mixed and

sprayed. He also used Pre-mixed/Ready-to-Use Roundup, which he personally sprayed.

       139.       For many years, Plaintiff McClintock sprayed Roundup on a regular basis.




                                                 -24-
  Case 3:24-cv-01399           Document 1       Filed 11/26/24      Page 24 of 45 PageID #: 24
         140.   On or about January 24th, 2022, Plaintiff McClintock was diagnosed with

Follicular Lymphoma and Non-Hodgkin’s Lymphoma in Nashville, Tennessee and suffered the

effects attendant thereto, as a direct and proximate result of the unreasonably dangerous and

defective nature of Roundup and Defendant’s wrongful and negligent conduct in the research,

development, testing, manufacture, production, promotion, distribution, marketing, and sale of

Roundup.

         141.   As a direct and proximate results of these injuries, Plaintiff McClintock has

incurred and will incur medical expenses in the future and has endured and will endure pain and

suffering and loss of enjoyment of life, and Mr. McClintock has otherwise been damaged in a

personal and pecuniary nature.

         142.   During the entire time that Plaintiff McClintock was exposed to Roundup, he did

not know that exposure to Roundup was injurious to his health or the health of others.

                           EQUITABLE TOLLING OF APPLICABLE
                               STATUTE OF LIMITATIONS

         143.   Plaintiff incorporates by reference all prior paragraphs of this Complaint as if fully

set forth herein.

         144.   The running of any statute of limitations has been tolled by reason of Defendant’s

fraudulent concealment. Defendant, through its affirmative misrepresentations and omissions,

actively concealed from Plaintiff the true risks associated with Roundup and glyphosate. Indeed,

even as of July 2016, Defendant continue to represent to the public that “Scientists are in

agreement that there is no evidence glyphosate causes cancer.” (emphasis added)11

         145.   As a result of Defendant’s actions, Plaintiff was unaware, and could not reasonably



11 Backgrounder - Glyphosate: No Evidence of Carcinogenicity. Updated November 2014. (downloaded October 9,

2015).


                                                   -25-
  Case 3:24-cv-01399           Document 1         Filed 11/26/24       Page 25 of 45 PageID #: 25
know or have learned through reasonable diligence that Roundup and/or glyphosate contact,

exposed Plaintiff to the risks alleged herein and that those risks were the direct and proximate

result of Defendant’s acts and omissions.

       146.    Furthermore, Defendant is estopped from relying on any statute of limitations

because of its fraudulent concealment of the true character, quality and nature of Roundup.

Defendant was under a duty to disclose the true character, quality, and nature of Roundup because

this was non-public information over which Defendant had and continue to have exclusive control,

and because Defendant knew that this information was not available to Plaintiff or to distributors

of Roundup. In addition, Defendant is estopped from relying on any statute of limitations because

of its intentional concealment of these facts.

       147.    Plaintiff had no knowledge that Defendant was engaged in the wrongdoing alleged

herein. Because of the fraudulent acts of concealment of wrongdoing by Defendant, Plaintiff could

not have reasonably discovered the wrongdoing at any time prior. Also, the economics of this fraud

should be considered. Defendant had the ability to and did spend enormous amounts of money in

furtherance of its purpose of marketing, promoting and/or distributing a profitable herbicide,

notwithstanding the known or reasonably known risks. Plaintiff and medical professionals could

not have afforded and could not have possibly conducted studies to determine the nature, extent,

and identity of related health risks, and were forced to rely on only Defendant’s representations.

Accordingly, Defendant is precluded by the discovery rule and/or the doctrine of fraudulent

concealment from relying upon any statute of limitations.

                                  FIRST CAUSE OF ACTION
                                      (NEGLIGENCE)

       148.    Plaintiff repeats, reiterates, and re-alleges each and every allegation of this

Complaint contained in each of the foregoing paragraphs inclusive, with the same force and effect



                                                  -26-
  Case 3:24-cv-01399         Document 1          Filed 11/26/24   Page 26 of 45 PageID #: 26
as if more fully set forth herein.

        149.    Defendant had a duty to exercise reasonable care in the designing, researching,

testing, manufacturing, marketing, supplying, promoting, packaging, sale, and/or distribution of

Roundup into the stream of commerce, including a duty to assure that the product would not cause

users to suffer unreasonable, dangerous side effects.

        150.    Defendant failed to exercise ordinary care in the designing, researching, testing,

manufacturing, marketing, supplying, promoting, packaging, sale, testing, quality assurance,

quality control, and/or distribution of Roundup into interstate commerce in that Defendant knew

or should have known that using Roundup created a high risk of unreasonable, dangerous side

effects, including, but not limited to, the development of NHL, as well as other severe and personal

injuries which are permanent and lasting in nature, physical pain and mental anguish, including

diminished enjoyment of life, as well as need for lifelong medical treatment, monitoring, and/or

medications.

        151.    The negligence by Defendant, its agents, servants, and/or employees, included but

was not limited to the following acts and/or omissions:

                a. Manufacturing, producing, promoting, formulating, creating, and/or designing

                    Roundup without thoroughly testing it;

                b. Failing to test Roundup and/or failing to adequately, sufficiently, and properly

                    test Roundup;

                c. Not conducting sufficient testing programs to determine whether or not

                    Roundup was safe for use; in that Defendant herein knew or should have known

                    that Roundup was unsafe and unfit for use by reason of the dangers to its users;

                d. Not conducting sufficient testing programs and studies to determine Roundup’s




                                               -27-
  Case 3:24-cv-01399          Document 1      Filed 11/26/24      Page 27 of 45 PageID #: 27
             carcinogenic properties even after Defendant had knowledge that Roundup is,

             was, or could be carcinogenic;

          e. Failing to conduct sufficient testing programs to determine the safety of “inert”

             ingredients and/or adjuvants contained within Roundup, and the propensity of

             these ingredients to render Roundup toxic, increase the toxicity of Roundup,

             whether these ingredients are carcinogenic, magnify the carcinogenic properties

             of Roundup, and whether or not “inert” ingredients and/or adjuvants were safe

             for use;

          f. Negligently failing to adequately and correctly warn Plaintiff, the public, the

             medical and agricultural professions, and the EPA of the dangers of Roundup;

          g. Negligently failing to petition the EPA to strength the warnings associated with

             Roundup;

          h. Failing to provide adequate cautions and warnings to protect the health of users,

             handlers, applicators, and persons who would reasonably and foreseeably come

             into contact with Roundup;

          i. Negligently marketing, advertising, and recommending the use of Roundup

             without sufficient knowledge as to its dangerous propensities;

          j. Negligently representing that Roundup was safe for use for its intended

             purpose, and/or that Roundup was safer than ordinary and common items such

             as table salt, when, in fact, it was unsafe;

          k. Negligently representing that Roundup had equivalent safety and efficacy as

             other forms of herbicides;

          l. Negligently designing Roundup in a manner, which was dangerous to its users;




                                           -28-
Case 3:24-cv-01399      Document 1        Filed 11/26/24    Page 28 of 45 PageID #: 28
              m. Negligently manufacturing Roundup in a manner, which was dangerous to its

                  users;

              n. Negligently producing Roundup in a manner, which was dangerous to its users;

              o. Negligently formulating Roundup in a manner, which was dangerous to its

                  users;

              p. Concealing information from Plaintiff while knowing that Roundup was unsafe,

                  dangerous, and/or non-conforming with EPA regulations; and

              q. Improperly concealing and/or misrepresenting information from Plaintiff,

                  scientific and medical professionals, and/or the EPA, concerning the severity of

                  risks and dangers of Roundup compared to other forms of herbicides.

              r. Negligently selling Roundup with a false and misleading label.

       152.   Defendant under-reported, underestimated, and downplayed the serious dangers of

Roundup.

       153.   Defendant negligently and deceptively compared the safety risks and/or dangers of

Roundup with common everyday foods such as table salt, and other forms of herbicides.

       154.   Defendant was negligent and/or violated Tennesee law in the designing,

researching, supplying, manufacturing, promoting, packaging, distributing, testing, advertising,

warning, marketing, and selling of Roundup in that they:

              a. Failed to use ordinary care in designing and manufacturing Roundup so as to

                  avoid the aforementioned risks to individuals when Roundup was used as an

                  herbicide;

              b. Failed to accompany its product with proper and/or accurate warnings regarding

                  all possible adverse side effects associated with the use of Roundup;




                                             -29-
  Case 3:24-cv-01399       Document 1       Filed 11/26/24      Page 29 of 45 PageID #: 29
               c. Failed to accompany its product with proper warnings regarding all possible

                   adverse side effects concerning the failure and/or malfunction of Roundup;

               d. Failed to accompany its product with accurate warnings regarding the risks of

                   all possible adverse side effects concerning Roundup;

               e. Failed to warn Plaintiff of the severity and duration of such adverse effects, as

                   the warnings given did not accurately reflect the symptoms, or severity of the

                   side effects including, but not limited to, the development of NHL;

               f. Failed to conduct adequate testing, clinical testing and post-marketing

                   surveillance to determine the safety of Roundup;

               g. Failed to conduct adequate testing, clinical testing, and post-marketing

                   surveillance to determine the safety of Roundup’s “inert” ingredients and/or

                   adjuvants;

               h. Negligently misrepresented the evidence of Roundup’s genotoxicity and

                   carcinogenicity;

       155.    Despite the fact that Defendant knew or should have known that Roundup caused,

or could cause, unreasonably dangerous side effects, Defendant continued and continue to market,

manufacture, distribute, and/or sell Roundup to consumers, including Plaintiff.

       156.    Defendant knew or should have known that consumers such as Plaintiff McClintock

would foreseeably suffer injury as a result of Defendant’s failure to exercise ordinary care, as set

forth above.

       157.    Defendant’s violations of law and/or negligence were the proximate cause of

Plaintiff’s injuries, harm and economic loss, which Plaintiff suffered and/or will continue to suffer.

       158.    As a result of the foregoing acts and omissions, Plaintiff suffered from serious and




                                                -30-
  Case 3:24-cv-01399         Document 1        Filed 11/26/24      Page 30 of 45 PageID #: 30
dangerous side effects including, but not limited to, NHL, as well as other severe and personal

injuries which are permanent and lasting in nature, physical pain and mental anguish, diminished

enjoyment of life, and financial expenses for hospitalization and medical care. Further, Plaintiff

McClintock suffered life-threatening NHL, and severe personal injuries, which are permanent and

lasting in nature, physical pain and mental anguish, including diminished enjoyment of life.

        159.    WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in

Plaintiff’ favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys’ fees and all relief as this Court deems just and proper. Additionally, Plaintiff

demands a jury trial on all issues contained herein.

                             SECOND CAUSE OF ACTION
                   (STRICT PRODUCTS LIABILITY – DESIGN DEFECT)

        160.    Plaintiff repeats, reiterates and, re-alleges each and every allegation of this

Complaint contained in each of the foregoing paragraphs inclusive, with the same force and effect

as if more fully set forth herein.

        161.    At all times herein mentioned, Defendant designed, researched, manufactured,

tested, advertised, promoted, sold, distributed, and/or have acquired Defendant who have designed,

researched, tested, advertised, promoted, marketed, sold, and distributed Roundup as hereinabove

described that was used by Plaintiff McClintock.

        162.    Defendant’s Roundup was expected to and did reach the usual consumers, handlers,

and persons coming into contact with said product without substantial change in the condition in

which it was produced, manufactured, sold, distributed, and marketed by Defendant.

        163.    At those times, Roundup was in an unsafe, defective, and inherently dangerous

condition, which was dangerous to users, and in particular, Plaintiff herein.

        164.    The Roundup designed, researched, manufactured, tested, advertised, promoted,



                                               -31-
  Case 3:24-cv-01399          Document 1      Filed 11/26/24      Page 31 of 45 PageID #: 31
marketed, sold, and distributed by Defendant was defective in design or formulation in that, when

it left the hands of the manufacturer and/or suppliers, the foreseeable risks exceeded the benefits

associated with the design or formulation of Roundup.

       165.    The Roundup designed, researched, manufactured, tested, advertised, promoted,

marketed, sold, and distributed by Defendant was defective in design and/or formulation, in that,

when it left the hands of Defendant’s manufacturers and/or suppliers, it was unreasonably

dangerous, unreasonably dangerous in normal use, and it was more dangerous than an ordinary

consumer would expect.

       166.    At all times herein mentioned, Roundup was in a defective condition and unsafe,

and Defendant knew or had reason to know that said product was defective and unsafe, especially

when used in the form and manner as provided by Defendant. In particular, Defendant’s Roundup

was defective in the following ways:

               a. When placed in the stream of commerce, Defendant’s Roundup Products were

                   defective in design and formulation and, consequently, dangerous to an extent

                   beyond that which an ordinary consumer would anticipate.

               b. When placed in the stream of commerce, Defendant’s Roundup products were

                   unreasonably dangerous in that they were hazardous and posed a grave risk of

                   cancer and other serious illnesses when used in a reasonably anticipated

                   manner.

               c. When placed in the stream of commerce, Defendant’s Roundup products

                   contained unreasonably dangerous design defects and were not reasonably safe

                   when used in a reasonably anticipated manner.

               d. Defendant did not sufficiently test, investigate, or study its Roundup products.




                                              -32-
  Case 3:24-cv-01399         Document 1      Filed 11/26/24      Page 32 of 45 PageID #: 32
                e. Exposure to Roundup presents a risk of harmful side effects that outweigh any

                   potential utility stemming from the use of the herbicide.

                f. Defendant knew or should have known at the time of marketing its Roundup

                   products that exposure to Roundup and could result in cancer and other severe

                   illnesses and injuries.

                g. Defendant did not conduct adequate post-marketing surveillance of its Roundup

                   products.

       167.     Defendant knew or should have known that at all times herein mentioned its

Roundup was in a defective condition and was and is inherently dangerous and unsafe.

       168.     Plaintiff McClintock was exposed to Defendant’s Roundup in the course of his

employment and residential spraying, as described above, without knowledge of Roundup’s

dangerous characteristics.

       169.     At the time of Plaintiff McClintock’s use of and exposure to Roundup, Roundup

was being used for the purposes and in a manner normally intended, as a broad-spectrum herbicide.

       170.     Defendant with this knowledge voluntarily designed its Roundup with a dangerous

condition for use by the public, and in particular Mr. McClintock.

       171.     Defendant had a duty to create a product that was not unreasonably dangerous for

its normal, intended use.

       172.     Defendant created a product that was and is unreasonably dangerous for its normal,

intended use.

       173.     Defendant marketed and promoted a product in such a manner so as to make it

inherently defective as the product downplayed its suspected, probable, and established health

risks inherent with its normal, intended use.




                                                 -33-
  Case 3:24-cv-01399           Document 1       Filed 11/26/24   Page 33 of 45 PageID #: 33
         174.   The Roundup designed, researched, manufactured, tested, advertised, promoted,

marketed, sold, and distributed by Defendant was manufactured defectively in that Roundup left

the hands of Defendant in a defective condition and was unreasonably dangerous to its intended

users.

         175.   The Roundup designed, researched, manufactured, tested, advertised, promoted,

marketed, sold, and distributed by Defendant reached its intended users in the same defective and

unreasonably dangerous condition in which Defendant’s Roundup was manufactured.

         176.   Defendant designed, researched, manufactured, tested, advertised, promoted,

marketed, sold, and distributed a defective product, which created an unreasonable risk to the

health of consumers and to Mr. McClintock in particular, and Defendant is therefore strictly liable

for the injuries sustained by Plaintiff.

         177.   Plaintiff could not, by the exercise of reasonable care, have discovered Roundup’s

defects herein mentioned or perceived its danger.

         178.   By reason of the foregoing, Defendant has become strictly liable to Plaintiff for the

manufacturing, marketing, promoting, distribution, and selling of a defective product, Roundup.

         179.   Defendant’s defective design, of Roundup amounts to willful, wanton, and/or

reckless conduct by Defendant.

         180.   Defects in Defendant’s Roundup were the cause or a substantial factor in causing

Plaintiff’s injuries.

         181.   As a result of the foregoing acts and omission, Plaintiff McClintock developed

NHL, and suffered severe and personal injuries, which are permanent and lasting in nature,

physical pain and mental anguish, including diminished enjoyment of life, and financial expenses

for hospitalization and medical care.




                                                -34-
  Case 3:24-cv-01399          Document 1       Filed 11/26/24     Page 34 of 45 PageID #: 34
        182.    WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in

Plaintiff’ favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys’ fees and all relief as this Court deems just and proper. Additionally, Plaintiff

demands a jury trial on all issues contained herein.

                            THIRD CAUSE OF ACTION
                 (STRICT PRODUCTS LIABILITY – FAILURE TO WARN)

        183.    Plaintiff repeats, reiterates, and re-alleges each and every allegation of this

Complaint contained in each of the foregoing paragraphs inclusive, with the same force and effect

as if more fully set forth herein.

        184.    Defendant has engaged in the business of selling, testing, distributing, supplying,

manufacturing, marketing, and/or promoting Roundup, and through that conduct have knowingly

and intentionally placed Roundup into the stream of commerce with full knowledge that it reaches

consumers such as Plaintiff McClintock who are exposed to it through ordinary and reasonably

foreseeable uses.

        185.    Defendant did in fact sell, distribute, supply, manufacture, and/or promote Roundup

to Plaintiff McClintock. Additionally, Defendant expected the Roundup that they were selling,

distributing, supplying, manufacturing, and/or promoting to reach – and Roundup did in fact reach

– consumers, including Mr. McClintock, without any substantial change in the condition of the

product from when it was initially distributed by Defendant.

        186.    At the time of manufacture, Defendant could have provided the warnings or

instructions regarding the full and complete risks of Roundup and glyphosate-containing products

because it knew or should have known of the unreasonable risks of harm associated with the use

of and/or exposure to such products.

        187.    At all times herein mentioned, the aforesaid product was defective and unsafe in



                                               -35-
  Case 3:24-cv-01399          Document 1      Filed 11/26/24      Page 35 of 45 PageID #: 35
manufacture such that it was unreasonably dangerous to the user, and was so at the time it was

distributed by Defendant and at the time Plaintiff McClintock was exposed to and/or ingested the

product. The defective condition of Roundup was due in part to the fact that it was not accompanied

by proper warnings regarding its carcinogenic qualities and possible side effects, including, but

not limited to, developing Non-Hodgkin’s Lymphoma as a result of exposure and use.

       188.      Roundup did not contain a warning or caution statement, which was necessary and,

if complied with, was adequate to protect health those exposed in violation of 7 U.S.C. §

136j(a)(1)(E).

       189.      Defendant’s failure to include a warning or caution statement which was necessary

and, if complied with, was adequate to protect the health of those exposed, violated 7 U.S.C. §

136j(a)(1)(E) as well as the laws of the State of Tennessee.

       190.      Defendant could have amended the label of Roundup to provide additional

warnings.

       191.      This defect caused serious injury to Plaintiff McClintock, who used Roundup in its

intended and foreseeable manner.

       192.      At all times herein mentioned, Defendant had a duty to properly design,

manufacture, compound, test, inspect, package, label, distribute, market, examine, maintain

supply, provide proper warnings, and take such steps to assure that the product did not cause users

to suffer from unreasonable and dangerous side effects.

       193.      Defendant labeled, distributed, and promoted the aforesaid product that it was

dangerous and unsafe for the use and purpose for which it was intended.

       194.      Defendant failed to warn of the nature and scope of the side effects associated with

Roundup, namely its carcinogenic properties and its propensity to cause or serve as a substantial




                                                -36-
  Case 3:24-cv-01399          Document 1       Filed 11/26/24      Page 36 of 45 PageID #: 36
contributing factor in the development of NHL.

        195.   Defendant was aware of the probable consequences of the aforesaid conduct.

Despite the fact that Defendant knew or should have known that Roundup caused serious injuries,

Defendant failed to exercise reasonable care to warn of the dangerous carcinogenic properties and

side effect of developing NHL from Roundup exposure, even though these side effects were known

or reasonably scientifically knowable at the time of distribution. Defendant willfully and

deliberately failed to avoid the consequences associated with its failure to warn, and in doing so,

Defendant acted with a conscious disregard for the safety of Plaintiff McClintock.

        196.   At the time of exposure, Plaintiff McClintock could not have reasonably discovered

any defect in Roundup prior through the exercise of reasonable care.

        197.   Defendant, as the manufacturer and/or distributor of the subject product, are held

to the level of knowledge of an expert in the field.

        198.   Plaintiff McClintock reasonably relied upon the skill, superior knowledge, and

judgment of Defendant.

        199.   Had Defendant properly disclosed the risks associated with Roundup, Plaintiff

McClintock would have avoided the risk of NHL by not using Roundup.

        200.   The information that Defendant did provide or communicate failed to contain

adequate warnings and precautions that would have enabled Plaintiff, and similarly situated

individuals, to utilize the product safely and with adequate protection. Instead, Defendant

disseminated information that was inaccurate, false, and misleading and which failed to

communicate accurately or adequately the comparative severity, duration, and extent of the risk of

injuries associated with use of and/or exposure to Roundup and glyphosate; continued to promote

the efficacy of Roundup, even after it knew or should have known of the unreasonable risks from




                                               -37-
   Case 3:24-cv-01399        Document 1       Filed 11/26/24     Page 37 of 45 PageID #: 37
use or exposure; and concealed, downplayed, or otherwise suppressed, through aggressive

marketing and promotion, any information or research about the risks and dangers of exposure to

Roundup and glyphosate.

        201.    To this day, Defendant has failed to adequately warn of the true risks of Plaintiff

McClintock’s injuries associated with the use of and exposure to Roundup.

        202.    As a result of its inadequate warnings, Defendant’s Roundup products were

defective and unreasonably dangerous when they left the possession and/or control of Defendant,

were distributed by Defendant, and used by Plaintiff McClintock.

        203.    As a direct and proximate result of Defendant’s actions as alleged herein, and in

such other ways to be later shown, the subject product caused Mr. McClintock to sustain injuries

as herein alleged.

        204.    WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in

Plaintiff’ favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys’ fees and all relief as this Court deems just and proper. Additionally, Plaintiff

demands a jury trial on all issues contained herein.

                                FOURTH CAUSE OF ACTION
                            (BREACH OF IMPLIED WARRANTIES)

        205.    Plaintiff repeats, reiterates, and re-alleges each and every allegation of this

Complaint contained in each of the foregoing paragraphs inclusive, with the same force and effect

all if more fully set forth herein.

        206.    At all times herein mentioned, Defendant manufactured, distributed, compounded,

recommended, merchandized, advertised, promoted, and sold Roundup and/or have recently

acquired the Defendant who have manufactured, compound portrayed, distributed, recommended,

merchandized, advertised, promoted, and sold Roundup, as a broad-spectrum herbicide. These



                                               -38-
  Case 3:24-cv-01399          Document 1      Filed 11/26/24      Page 38 of 45 PageID #: 38
actions were under the ultimate control and supervision of Defendant.

       207.    At the time Defendant marketed, sold, and distributed Roundup for use by Plaintiff

McClintock, Defendant knew of Roundup’s intended use and impliedly warranted the product to

be or merchantable quality and safe and fit for this use.

       208.    Defendant impliedly represented and warranted to Plaintiff McClintock and users

of Roundup, the agricultural community, and/or the EPA that Roundup was safe and of

merchantable quality and fit for the ordinary purpose for which it was to be used.

       209.    These representations and warranties were false, misleading, and inaccurate in that

Roundup was unsafe, unreasonably dangerous, not of merchantable quality, and defective.

       210.    Plaintiff McClintock and/or the EPA did rely on said implied warranty of

merchantability of fitness for particular use and purpose.

       211.    Plaintiff McClintock reasonably relied upon the skill and judgment of Defendant

as to whether Roundup was of merchantable quality and safe and fit for its intended use.

       212.    Roundup was injected into the stream of commerce by Defendant in a defective,

unsafe, and inherently dangerous condition, and the products’ materials were expected to and did

reach users, handlers, and persons coming into contact with said products without substantial

change in the condition in which they were sold.

       213.    Defendant breached the aforesaid implied warranties, as its herbicide Roundup was

not fit for its intended purposes and uses.

       214.    As a result of the foregoing acts and omissions, Plaintiff McClintock suffered from

NHL and Mr. McClintock suffered severe and personal injuries which are permanent and lasting

in nature, physical pain and mental anguish, including diminished enjoyment of life, financial

expenses for hospitalization and medical care, including medical expenses and other economic,




                                               -39-
  Case 3:24-cv-01399         Document 1       Filed 11/26/24     Page 39 of 45 PageID #: 39
and non-economic damages.

        215.    WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in

Plaintiff’ favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys’ fees and all relief as this Court deems just and proper. Additionally, Plaintiff

demands a jury trial on all issues contained herein.

                                      FIFTH CAUSE OF ACTION
                                             (FRAUD)

        216.    Plaintiff repeats, reiterates, and re-alleges each and every allegation of this

Complaint contained in each of the foregoing paragraphs inclusive, with the same force and effect

all if more fully set forth herein.

        217.    Defendant misrepresented and/or failed to disclose, inter alia, that: glyphosate and

its major metabolite aminomethylphosphonic acid (AMPA) could cause cancer; glyphosate and

AMPA are known to be genotoxic in humans and laboratory animals because exposure is known

to cause DNA strand breaks (a precursor to cancer); glyphosate and AMPA are known to induce

oxidative stress in humans and laboratory animals (a precursor to cancer); glyphosate and AMPA

interfere with the aromatic amino acids within the human gut, leading to downstream health

conditions including cancer; exposure to glyphosate and AMPA is causally associated with Non-

Hodgkin Lymphoma; and the laboratory tests attesting to the safety of glyphosate were flawed

and/or fraudulent.

        218.    Due to these misrepresentations and omissions, at all times relevant to this

litigation, Defendant’s Roundup was misbranded under 7 U.S.C. § 136(g) and its distribution

within Tennessee and around the United States was a violation of 7 U.S.C. § 136j and 40 C.F.R. §

156.10(a)(5).

        219.    Plaintiff McClintock relied on Defendant’s misrepresentations and/or material



                                               -40-
  Case 3:24-cv-01399          Document 1      Filed 11/26/24      Page 40 of 45 PageID #: 40
omissions regarding the safety of Roundup and its active ingredient glyphosate in deciding whether

to purchase and/or use the product. Plaintiff did not know, nor could Plaintiff have reasonably

known of the misrepresentations and/or material omissions by Defendant concerning Roundup and

its active ingredient glyphosate.

       220.    The misrepresentations and/or material omissions that form the basis of this fraud

claim are not limited to statements made on the Roundup labeling, as defined under federal law,

but also involve Defendant’s representations and omissions made as part of its promotion and

marketing of Roundup, including on the Internet, television, in print advertisements, etc. Nothing

prevented Defendant from disclosing the truth about the risks associated with Roundup in its

promotional efforts outside of the labeling context, using the forms of media and promotion

Defendant traditionally used to promote the product’s efficacy and benefits.

       221.    When Defendant made the misrepresentations and/or omissions as alleged in this

pleading, it did so with the intent of defrauding and deceiving the public in general and the

agricultural community and with the intent of inducing the public and agricultural community to

purchase and use Roundup.

       222.    Defendant made these misrepresentations and/or material omissions with

malicious, fraudulent and/or oppressive intent toward Plaintiff and the public generally.

Defendant’s conduct was willful, wanton, and/or reckless. Defendant deliberately recommended,

manufactured, produced, marketed, sold, distributed, merchandized, packaged, promoted and

advertised the dangerous and defective herbicide Roundup. This constitutes an utter, wanton, and

conscious disregard of the rights and safety of a large segment of the public, and by reason thereof,

Defendant is liable for reckless, willful, and wanton acts and omissions which evidence a total and

conscious disregard for the safety of Plaintiff and others which proximately caused the injuries as




                                               -41-
  Case 3:24-cv-01399         Document 1       Filed 11/26/24      Page 41 of 45 PageID #: 41
set forth herein.

        223.    As a result of the foregoing acts and omissions, Plaintiff McClintock suffered from

NHL and Mr. McClintock suffered severe and personal injuries, which are permanent and lasting

in nature, physical pain and mental anguish, including diminished enjoyment of life, financial

expenses for hospitalization and medical care, including medical expenses and other economic,

and non-economic damages.

        224.    WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in

Plaintiff’ favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys’ fees and all relief as this Court deems just and proper. Additionally, Plaintiff

demands a jury trial on all issues contained herein.

                                      SIXTH CAUSE OF ACTION
                                        (PUNITIVE DAMAGES)

         225. Plaintiff repeats, reiterates, and re-alleges each and every allegation of this

Complaint contained in each of the foregoing paragraphs inclusive, with the same force and effect

all if more fully set forth herein.

         226. Plaintiff brings claims of punitive damages against Defendant.

         227. At all times material hereto, Defendant knew or should have known that the product

was inherently dangerous with respect to its health risk.

         228. At all times material hereto, Defendant attempted to misrepresent and did

misrepresent facts concerning the safety of the subject product.

         229. Defendant’s misrepresentations included knowingly withholding material

information from the public, including Plaintiff, concerning the safety of the subject products.

         230. At all times material hereto, Defendant knew and recklessly disregarded the fact

that human exposure to Roundup can and does cause health hazard, including Non-Hodgkin’s



                                               -42-
  Case 3:24-cv-01399          Document 1      Filed 11/26/24       Page 42 of 45 PageID #: 42
Lymphoma.

        231. Notwithstanding the foregoing, Defendant continued to aggressively market and

apply the subject product without disclosing the aforesaid risks.

        232. Defendant knew of the subject products’ defective and unreasonably dangerous

nature as set forth herein, but continued to design, develop, manufacture, market, distribute, sell

and apply it so as to maximize sales and profits at the expense of the health and safety of the public,

including Plaintiff, in conscious and/or negligent disregard of the foreseeable harm caused by

Roundup.

        233. Defendant intentionally concealed and/or recklessly failed to disclose to the public,

including Plaintiff, the potentially life-threatening hazards of Roundup in order to ensure continued

and increased sales.

        234. Defendant’s intentional and/or reckless failure to disclose information deprived

Plaintiff of necessary information to enable Plaintiff to weigh the true risks of using or being

exposed to the subject product against its benefits.

        235. Due to the foregoing acts and omissions, Plaintiff McClintock suffered from NHL

and Mr. McClintock suffered severe and personal injuries which are permanent and lasting in

nature, physical pain and mental anguish, including diminished enjoyment of life, financial

expenses for hospitalization and medical care, including medical expenses and other economic,

and non-economic damages.

        236. WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in

Plaintiff’ favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys’ fees and all relief as this Court deems just and proper in Order to deter

Defendant from similar conduct in the future. Additionally, Plaintiff demands a jury trial on all




                                                -43-
  Case 3:24-cv-01399         Document 1        Filed 11/26/24       Page 43 of 45 PageID #: 43
issues contained herein.

                                     PRAYER FOR RELIEF

          237. WHEREFORE, Plaintiff demands judgment against Defendant on each of the

above-referenced claims and causes of action and as follows:

          238. Awarding compensatory damages in excess of the jurisdictional amount, including,

but not limited to pain, suffering, emotional distress, loss of enjoyment of life, and other non-

economic damages in an amount to be determined at trial of this action;

          239. Awarding compensatory damages to Plaintiff for past and future damages,

including, but not limited to, Plaintiff’s pain and suffering and for severe and permanent personal

injuries sustained by Plaintiff McClintock including health care costs and economic loss;

          240. Awarding economic damages in the form of medical expenses, out of pocket

expenses, lost earnings and other economic damages in an amount to be determine at trial of this

action;

          241. Punitive and/or exemplary damages for the wanton, willful, fraudulent, and

reckless acts of Defendant who demonstrated a complete disregard and reckless indifference for

the safety and welfare of the general public and to Plaintiff in an amount sufficient to punish

Defendant and deter future similar conduct, to the extent allowed by applicable law;

          242. Pre-judgment interest;

          243. Post-judgment interest;

          244. Awarding Plaintiff reasonable attorneys’ fees;

          245. Awarding Plaintiff the costs of these proceedings; and

          246. Such other and further relief as this Court deems just and proper.




                                               -44-
  Case 3:24-cv-01399         Document 1       Filed 11/26/24     Page 44 of 45 PageID #: 44
                                DEMAND FOR JURY TRIAL

      Plaintiff hereby demands trial by jury as to all issues.



Dated: November 21, 2024



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                                              -45-
 Case 3:24-cv-01399        Document 1        Filed 11/26/24      Page 45 of 45 PageID #: 45
